           Case 2:05-cr-00381-TSZ        Document 86      Filed 08/10/06    Page 1 of 2



 1                                                          MAGISTRATE JUDGE THEILER
 2

 3

 4

 5

 6                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 7                                   AT SEATTLE
 8   UNITED STATES OF AMERICA,                    )
                                                  ) NO. CR05-381TSZ
 9                        Plaintiff,              )
                                                  )
10                                                )
                   vs.                            ) ORDER MODIFYING AMENDED
11                                                ) APPEARANCE BOND
     JOSHUA KEBEDE,                               )
12                                                )
                          Defendant.              )
13                                                )
14
            THIS MATTER has come before the Court on the unopposed motion of
15
     defendant, Joshua Kebede. The Court has considered the motion, the records and files
16
     herein and enters the following order:
17
            The motion to modify the appearance bond is granted. The defendant shall be
18
     permitted to have contact with William and Alice Clarke for the sole purpose of
19
     arranging care of his minor son and shall not discuss his case or matters related to his
20
     case. U.S. Pretrial is granted the authority to give Mr. Kebede permission to travel to
21
     Ethiopia for no more than nine days and on the condition he return to the United States
22
     no later than September 10, 2006.
23
            DONE this 10th day of August, 2006.
24

25                                             S/JAMES P. DONOHUE for
                                               MARY ALICE THEILER
26
                                                                         FEDERAL PUBLIC DEFENDER
     (PROPOSED) ORDER AMENDING                                             Westlake Center Office Tower
                                                                                   1601 Fifth Avenue, Suite 700
     BOND       -1                                                                  Seattle, Washington 98101
     (Almussa/Kebede, CR05-381TSZ)                                                              (206) 553-1100
           Case 2:05-cr-00381-TSZ     Document 86    Filed 08/10/06   Page 2 of 2



 1                                         United States Magistrate Judge
 2
     Presented by:
 3
   s/ Brian Tsuchida
 4 WSBA # 14886
   Attorney for Mr. Kebede
 5 Federal Public Defender’s Office
   1601 Fifth Avenue, Suite 700
 6 Seattle WA 98101
   206/553-1100 voice
 7 206/553-0120 facsimile
   brian_tsuchida@fd.org
 8
     Approved by:
 9
   s/ Vincent Lombardi
10 Assistant United States Attorney
   Telephonic Approval
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
                                                                   FEDERAL PUBLIC DEFENDER
     (PROPOSED) ORDER AMENDING                                       Westlake Center Office Tower
                                                                             1601 Fifth Avenue, Suite 700
     BOND       -2                                                            Seattle, Washington 98101
     (Almussa/Kebede, CR05-381TSZ)                                                        (206) 553-1100
